Case 18-55697-lrc      Doc 372      Filed 05/18/21 Entered 05/19/21 11:02:21                  Desc Main
                                    Document     Page 1 of 5




       UNITED STATES BANKRUPTCY COURT OF 'GEORGIA NORTHERN DISTRICT




       CASSANDRA JOHNSON-LANDRY 1
       DEBTOR                                                  BRC 18-55697LRC
                                                                              .9j,„




       OBJECTION TO CLAIM NUMBER 13 BUREAUS INVESTMENT GROUP
       PORTFOLIO NO 15 LLC.

       CASSANDRA JOHNSON-LANDRY, Debtor OBJECTS to submitted claim:
       Bureaus Investment Group Portfolio no 15, LLC.in the amount of 11,439.52, on behalf of
       Capital One. There has been no validation of claim. Debtor contacted Company, however there
       no representative was available. In addition, the are additional claims filed by the Bureau which
       are not which are not validated. Possible duplicate claim. (EXHIBIT A),




       18t h Day of May 202


       CASSANDRA JO           SON-LA                 0-SE
Case 18-55697-lrc    Doc 372    Filed 05/18/21 Entered 05/19/21 11:02:21            Desc Main
                                Document     Page 2 of 5




       UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                            CERTIFICATE OF SERVICE


       I, CASSANDRA JOHNSON-LANDRY, Debtor currently submit Certificate of Service
       Regarding OBJECTION TO CLAIM NUMBER13 THE BUREAUS INC. the 18'
       day of May 2021. Debtor is over the age of 18 years. COS and Objection will be mailed
       by the USPS to:

       THE OVRE.A.t.):11'4(7;
       1717 cENTRAL .STREF,T
       E.A1ANSTQN4 .1.1, 60,29j.

       S. GREGORY HAYS, CHAPTER 7 TRUSTEE
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305

       HERBERT BROADFOOT, ESQ.
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305




       18TH DAY OF MAY 2021



       CASSANDRA 4       HNSON-L             PRO SE
Case 18-55697-lrc   Doc 372   Filed 05/18/21 Entered 05/19/21 11:02:21   Desc Main
                              Document     Page 3 of 5




                                  EXHIBIT A




                                        16
            Case 18-55697-lrc                    Doc 372           Filed 05/18/21 Entered 05/19/21 11:02:21                             Desc Main
                                                                   Document     Page 4 of 5
10/3/2017                                             hlips://v~,freecreclitreportcorn/c/illprint/experian/201710031621501417

    CASSANDRA LANDRY- Expedan                                                                                                          S.
    Date of Report: Oct 3,2017                                                                                                       !experian..
                                                                               THE BUREAUS INC
     A                                                                                                                                           Closed
                                                                                  Al*505XXX


         ACCOUNT DETAILS                                                                   CONTACT INFORMATION

         Account Name                                              THE BUREAUS INC         1717 CENTRAL ST
                                                                                           EVANSTON, IL 60201
         Account it                                                        415505XXX       (800) 708-7071

         Original Creditor                                         CAPITAL ONE NA.         PAYMENT HISTORY

         Company Sold                                                                            2017              201
                                                                                           Jan Feb mar Apr   Jan Feb Mar   Apr

         Account Type                      Collection Department / Agency / Attorney       DE/DE             0000
                                                                                           May Jun JO Aug    May Jun Jul Aug
         Date Opened                                                       Sep 1,2016      ESSO            or-co
                                                                                           Sep Oct Nov Dec Sep Oct Nov Dec
         Account Status                                                         Closed        DflE FIREDE]
          Payment Status     Seriously past due date / assigned to attorney, collection
                             agency, or credit grantor's internal collection department

          Status Updated                                                   Oct 1,201

          Balance                                                              $14,019

          Balance                                                         Sep 19, 2017
          Updated

          Original Balance                                                       14119

          Monthly
          Payment

          Past Due                                                             $14,019
          Amount

          Highest Balance

          Terms                                                                1 Month

          Responsibility                                                      Individual

          Your Statement

          comments




         Summary                                                     Collections                     Inquiries             'Public Records Credit Score




 fitinc, th.nr.)      eargirlannti enrni,if4irvirit.havolontarinfl171111111RlicrliA17                                                                     R7/71
            Case 18-55697-lrc               Doc 372             Filed 05/18/21 Entered 05/19/21 11:02:21                                   Desc Main
10/3/2017                                        https:/
                                                               Document               Page 5 of 5
                                                              ,freecreditreport.corn/cift/print/expon n/201710031621501417

   CASSANDRA LANDF1Y - Experian                                                                                                                     ,
   Date of Report: Oct 3,2017                                                                                                       .!expenan,
                                                                                                                                    1

                                                                       SYNCEUSAMS CLUB DC
                                                                                                                                                          Closed
                                                                        1721333XX XXXXXXXX

       ACCOUNT DETAILS                                                               CREDIT USAGE

       Account Name                                        SYNCB/SAMS CLUB DC                          No Credit Usage
                                                                                                       You have no account balance. Keeping your account
       Account #                                            521333XXXXXXXXXX
                                                                                             0%        balances as low as possible can have a positive impact
                                                                                                       on your credit
       Original Creditor

       Company Sold
                                                                                     CONTACT INFORMATION
       Account Type                                Credit Card Revolving Terms
                                                                                     PO BOX 965005
       Cate Opened                                                   Sep 1, 2013     ORLANDO, FL 32896
                                                                                     (866) 220-0254
       Account Status                                                     Closed
                                                                                     PAYMENT HISTORY
       Payment Status                                                 Charge-off
                                                                                           2016              2010               014
                                                                                     Jan Feb Mar Apr   Jan Pen mar Apr   Jan Feb mar Ape
       Status Updated                                                Sep 1,2016
                                                                                     CIDECI          0E00 Fic EDE
                                                                                     May Jun Jul Aug may Jun _1,4 Aug May Jun Jul Aug
       Balance                                                                  SO
                                                                                             atIO ETIC:322 1:11CD:3C)
                                                                                     Sep Oct Nog Dec Sep Oct Nay Dec Sen Oct Noe Dec
       Balance Updated                                                Sep 5, 2016

       Credit Limit                                                       $7,850
                                                                                     Onno CD222 EEF1R
                                                                                           2013
        Monthly Payment                                                              Jan Feb Mar Apr
                                                                                     mm
       Past Due Amount                                                               May Jun Jul Aug

        Highest Balance                                                              m OE
                                                                                     Sep Oct Nov Dec

       Terms                                                            Revolving    DODO
        Responsibility                                                  Individual

        Your Statement

        Comments                 Transferred to another lertder or claim purchased




       Summary                    Accounts (Closed)                    CollettiOnS                Inquiries        Public Records Credit Score




             Fresorrarlif newt                             7111r111R11 n1/117                                                                                      P7171
